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     And Koil Content Creation Pty Ltd.
 6

 7                        UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
 9                                       )
     THAT ONE VIDEO                      ) Case No. 2:23-CV-02687 SVW
10   ENTERTAINMENT, LLC, a California ) (JCx)
     limited liability company,          )
11                                       ) Hon. Stephen V. Wilson
                             Plaintiff,  )
12                                       ) DEFENDANTS NOTICE OF
            v.                           ) MOTION AND MOTION FOR
13                                       ) ATTORNEY’S FEES;
     KOIL CONTENT CREATION PTY           ) MEMORANDUM OF POINTS
14   LTD., an Australian proprietary     ) AND AUTHORITIES IN SUPPORT
     limited company doing business as   ) THEREOF
15   NOPIXEL; MITCHELL CLOUT, an         )
     individual; and DOES 1-25,          ) [Filed or lodged concurrently
16   inclusive,                          ) herewith: (1) Declaration of Keith L.
                             Defendants. ) Cooper; (2) Declaration of Larry
17                                       ) Zerner; and (3) Proposed Order.]
                                         )
18                                       )
                                         ) Date: December 9, 2024
19                                       ) Time: 1:30 p.m.
                                         ) Place: Courtroom 10A
20                                       )
                                         ) Action Filed: April 10, 2023
21                                       )
                                         )
22

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     DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR ATTORNEYS’ FEES AND COSTS
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 1         TO PLAINTIFF AND ITS ATTORNEYS OF RECORD:
 2

 3         PLEASE TAKE NOTICE THAT on December 9, 2024 at 1:30 p.m. or as

 4   soon thereafter as the parties may be heard, before the Honorable Stephen V. Wilson,

 5   United States District Judge, in Courtroom 10A, located at 350 W. First Street, Los

 6   Angeles, California 90012, Defendants Mitchell Clout and Koil Content Creation Pty

 7   Ltd. (collectively, “Defendants”) will and hereby do move the Court for an award of

 8   reasonable attorney's fees pursuant to Section 505 of the Copyright Act (17 U.S.C. §
 9   505) on the ground that they are the prevailing party in this copyright action.
10         Defendants seek an award of attorney's fees in the amount of $232,578.42 plus
11   whatever fees are incurred in preparing a Reply to any Opposition by Plaintiffs to
12   this Motion, to be established in a supplemental Declaration to be filed with that
13   Reply.
14         This Motion is based on this Notice of Motion and Motion and the
15   Memorandum of Points and Authorities attached hereto, the Declarations of Keith L.
16   Cooper, and Larry Zerner filed concurrently herewith, the file and record in this case,
17   and any further argument or evidence that may be presented to or considered by the
18   Court prior to its ruling.
19         This Motion is made following the conference of counsel pursuant to L.R. 7-3,
20   which took place on October 30, 2024.
21

22   Dated: November 7, 2024                 Respectfully submitted,
23
                                             ZERNER LAW
24

25                                           By: /s/Larry Zerner
26
                                                 Attorneys for Defendants Koil Content
                                                 Creation Pty. Ltd. and Mitchell Clout
27

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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2
       I.   INTRODUCTION
 3

 4      Plaintiff filed the present lawsuit under the Copyright Act falsely claiming that it
 5   had a joint copyright ownership in Defendants’ computer servers and that Plaintiff
 6   was therefore entitled to 50% of the profits in the revenue earned from these servers.
 7      The Court granted Defendants’ motion for summary judgment (the “MSJ”), after
 8   Plaintiff did not file an opposition to the MSJ and instead stipulated that the court
 9   should grant judgement in Defendants favor. In doing so, Plaintiff impliedly
10   conceded that its case was without any factual basis.
11      As the prevailing party, Defendants are entitled to recover their attorneys’ fees
12   and costs pursuant to the Copyright Act because (i) Defendants achieved a complete
13   victory in their defense against Plaintiff’s claims, (ii) Plaintiff asserted an objectively
14   unreasonable if not frivolous claim, (iii) Plaintiff’s conduct before and during the
15   litigation shows Plaintiff’s improper motivations in pursuing its claims, (iv) an
16   award of attorneys’ fees is necessary to advance considerations of compensation
17   (i.e., to ensure that other defendants are not discouraged from protecting their
18   legitimate rights) and deterrence (i.e., to discourage other plaintiffs from asserting
19   similarly unmeritorious claims), and (v) these factors also further the purposes of the
20   Copyright Act.
21          The fees that Defendants seek are manifestly reasonable considering the
22   prevailing market rates for attorneys with a similar level of experience and expertise
23   and the time necessarily spent in the defense of Plaintiff’s claims. Defendants
24   therefore, respectfully request that the Court award their reasonable attorneys’ fees
25   and costs in the total amount of $222,183.42, in addition to the $10,395.00 in fees
26   they incurred in connection with this motion.
27    II.   RELEVANT PROCEDURAL HISTORY
28


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 1          On July 7, 2023, Plaintiff That One Video Entertainment (“TOVE”) filed its
 2
     First Amended Complaint (“FAC”) asserting three causes of action against
 3

 4   Defendants KOIL CONTENT CREATION PTY LTD., dba NOPIXEL and
 5
     MITCHELL CLOUT (collectively “Defendants”). The three causes of action are: (1)
 6
     Declaratory Relief; (2) Breach of Contract; and (3) Accounting.
 7

 8
            Specifically, Plaintiff sought a declaration concerning the parties’ respective
 9
     rights in and to certain copyrighted material provided to Defendants. It was based on
10

11   alleged “creative contributions” made by its alleged employee (Daniel Tracey).
12
        Plaintiff expressly made these claims “pursuant to the Copyright Act” (FAC at
13

14   Paragraph 23). It also sought a determination of the parties’ respective rights in and
15
     to any and all copyrights (FAC at Paragraph 22) and joint ownership interest in and
16
     to any and all copyrights (FAC at Paragraph 23).
17

18
        On September 10, 2024, Plaintiff moved for summary judgment on its FAC. That
19
     motion was denied. On October 21, 2024, NoPixel and Clout (collectively, the
20

21   “Defendants”) moved for summary judgment. Plaintiff did not oppose the motion,
22
     which was subsequently granted by this court.
23

24   III.   RELEVANT UNDISPUTED FACTS
25

26
            As Defendants’ motion for summary judgment was unopposed, the following

27   are the undisputed facts relevant to the current motion. All factual references
28


                                                 7
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 1   contained herein are included in Defendants’ Separate Statement of Facts, supported
 2
     by documents and declarations, in Defendants’ unopposed Motion for Summary
 3

 4   Judgment.
 5
           In 2016, Defendants created and began operating the “NoPixel Servers,”
 6

 7   which allows players of the video game “Grand Theft Auto V” to create and play
 8
     new and unique scenarios that are not part of the base Grand Theft Auto game. In
 9
     April 2020, Daniel Tracey acquired an account as a player on the NoPixel server.
10

11   When he signed up, he was required to agree to the NoPixel terms of service
12
     (“Terms”). Tracey did, in fact, sign up and agree to be bound by those Terms.
13
     Defendants produced evidence of Tracey’s acceptance of these terms.
14

15
           The Terms expressly stated that (1) a content provider, such as Tracey, granted
16
     Defendants a “non-exclusive, permanent, irrevocable, unlimited license to use,
17

18   publish, or re-publish” the “Content”; (2) the content provider would retain copyright
19
     ownership over the Content; and (3) “Content” is defined as “All content you submit,
20

21
     upload, or otherwise make available to the Service.” Tracey did not deny that he

22   agreed to these Terms, which applied to all copyrightable material provided by the
23
     members on the server. Tracey further acknowledged this in his deposition, affirming
24

25
     that he owned the copyright to the work he created prior to working for Plaintiff,

26   while Plaintiff owned the copyright to his contributions created thereafter.
27

28


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 1         Despite this Plaintiff has argued that the copyrighted material was a “joint
 2
     work” or “jointly owned,” presumably to get this matter before this court (see below:
 3

 4   if there was no dispute over copyright ownership this matter would not be in Federal
 5
     Court). Yet, the undisputed facts demonstrate there was no “joint ownership” and no
 6
     intent to create a joint work (the Terms clearly state the content is owned by Tracey
 7

 8   and licensed to Defendants). Further, Plaintiff never proffered any evidence that
 9
     Defendants intended for this to be a “joint work” or jointly owned. In fact, the Terms
10
     indicate the contrary (Defendants were not asserting any ownership over it). In any
11

12   case, Tracey’s contribution to the overall code was less than one percent of the total
13
     code contained on the servers as Tracey was only one of dozens of contributors.
14

15         Additionally, Plaintiff failed to produce any evidence that it even owns
16
     Tracey’s copyrightable contributions. Plaintiff failed to produce evidence that, as
17
     Plaintiff alleged, it entered into an agreement with Defendants to “loan out” the
18

19   services of Tracey to Defendants (as a precursor to its ownership). Plaintiff did
20
     produce an “employment agreement” with Tracey, which unequivocally failed to
21

22
     mention anything about lending his services to third parties. Plus, Plaintiff admitted

23   it never spoke to Defendants about Tracey, Tracey’s employment, Tracey’s
24
     contributions, joint ownership or any agreement at all.
25

26         In fact, at the time of the alleged employment with Plaintiff, Tracey had been
27
     working for Defendants as a developer for over a year. All invoices for Tracey’s
28


                                                9
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 1   work were paid to Tracey personally, without any reference to Plaintiff.
 2
     Additionally, in preparing an H-1B visa application that would enable Plaintiff to
 3

 4   hire Tracey (so Tracey could remain in the United States), Plaintiff’s principal
 5
     (Jacques Khalil) stated, under penalty of perjury, that he was hiring Tracey to work
 6
     full-time as Plaintiff’s developer and lead designer. Nowhere did it mention Tracey
 7

 8   would be spending all or any part of his workdays working for Defendants. And
 9
     Tracey kept 100% of the money he was paid by Defendants. Despite this, Plaintiff
10
     claims Defendants agreed to make Tracey a “50% partner” despite the undisputed
11

12   evidence to the contrary that Tracey was entitled to some revenue from only 4 of the
13
     over 170 servers.
14

15           In sum, Plaintiff asserted numerous claims against Defendants without
16
     providing any supporting facts or evidence, including in opposition to Defendants'
17
     motion for summary judgment. Plaintiff presented no evidence of copyright
18

19   ownership, joint authorship, or any relevant agreements with Defendants.
20
     Consequently, Plaintiff has effectively conceded that its claims are frivolous, lack
21

22
     merit, and were brought for an improper purpose.

23
     IV.     POINTS & AUTHORITIES
24

25         (a) The Facts of This Case are Undisputed
26
             Section 56(e) Federal Rule of Civil Procedure states, in pertinent part, if a
27

28
     party fails to properly address another party’s assertion of fact, the court may

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 1   consider the fact undisputed. Fed. R. Civ. P. 56(e). The Court may also assume that
 2
     material facts claimed and supported by a moving party (in an MSJ) are admitted to
 3

 4   exist without controversy unless controverted by declaration or other evidence. C.D.
 5
     Cal. R. 56-3.
 6
           In the present case, Plaintiff has presented no evidence to controvert the now-
 7

 8   undisputed facts that: (1) Tracey granted Defendants a license to incorporate his code
 9
     into the NoPixel server; (2) there was no agreement to “loan out” Tracey’s services
10
     to Defendants; and (3) the code is not a joint work, and neither Tracey nor Plaintiff
11

12   qualifies as a joint author thereof.
13
        (b) Defendants are the “Prevailing Parties”
14
           Pursuant to Local Rule 54-1 a “prevailing party” is “the party in whose favor a
15

16   judgment is rendered. . .” C.D. Cal. R. 54-1. Summary judgment is a judgment that
17
     favors the party in whose favor the judgment was granted thereby establishing them
18
     as the prevailing party. Hensley v. Eckerhart, 461 U.S. 424 (1983) (A prevailing
19

20   party is one who has been awarded some relief by the court, which includes winning
21
     a motion for summary judgment).
22

23
           Defendants prevailed on their unopposed motion for summary judgment and

24   are, therefore, the prevailing party in this action.
25
     (c) As Prevailing Party, Defendants are entitled to Attorneys’ Fees
26

27
           The United States Copyright Act provides for the recovery of attorney’s fees

28   in favor of a prevailing party. 17 U.S.C. § 505. The fee award may be made “as part

                                                  11
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 1   of the costs” and applies to “any party other than the United States or an officer
 2
     thereof.” Ibid. Attorney’s fees may be awarded pursuant to the court’s discretion, in
 3

 4   “any civil action” under Title 17. Ibid.
 5
           A “civil action” under Title 17 is not limited to claims of copyright
 6
     infringement. In fact, a claim for Declaratory Relief premised on the need to construe
 7

 8   the provisions of the Copyright Act allows the court to grant attorney fees to the
 9
     prevailing party. Doc’s Dream, LLC v. Dolores Press, Inc., 959 F.3d 357, 363 (9th
10
     Cir. 2020) (citing Nimmer on Copyright, Section 14.10, Attorney Fees).
11

12         In Doc’s Dream, the federal district court granted summary judgment in favor
13
     of defendant on plaintiff’s complaint seeking a declaration that defendant abandoned
14
     his works to the public domain. Id at 358. The defendant moved for attorney’s fees
15

16   under the Copyright Act on the grounds that U.S. Code Title 17, §505 allows the
17
     court to award a reasonable attorney’s fee to the prevailing party in "any civil action
18
     under this title." Ibid. The district court denied the motion, holding that attorney’s
19

20   fees were not available because the determination of copyright abandonment did not
21
     require "construction" of the Copyright Act. Id at 359.
22

23
           However, on appeal, the appellate court held that, even when asserted as a

24   claim for declaratory relief, any action that turns on the existence of a valid
25
     copyright and whether that copyright has been infringed invokes the Copyright Act,
26

27
     and thus attorney’s fees may be available under §505. Ibid (emphasis added). Of

28   note, the defendant in Doc’s Dreams argued it was eligible for attorney’s fees where,

                                                 12
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 1   similar to the present case, the plaintiff’s claim for declaratory relief was (1)
 2
     unreasonable given its slim chance of success, (2) brought in bad faith, and (3)
 3

 4   worthy of deterrence as a meritless claim that forced defendant to incur defensive
 5
     legal costs. Id at 359 (citing Kirtsaeng v. John Wiley & Sons, Inc. 136 S. Ct. 1979,
 6
     1985 (2016)).
 7

 8         The Doc’s Dream case noted that defendants’ appeal raised an issue of first
 9
     impression in the Ninth Circuit: whether Doc’s Dream’s underlying action seeking
10
     declaratory relief sufficiently invoked the Copyright Act as to allow for an award of
11

12   attorney’s fees under §505. Ibid (emphasis added). The Appeals Court then
13
     reaffirmed that, in any civil action under title 17, the court in its discretion may allow
14
     the recovery of full costs against any party…[and] may also award a reasonable
15

16   attorney’s fees to the prevailing party. Ibid.
17
           The Appeals Court found it was not necessary for a declaratory relief action to
18
     require "construction" of the Copyright Act. Ibid. It also did not matter whether the
19

20   claim was based on “equity”. Ibid. It found that “construction” of the Copyright Act
21
     was not so limited. Id at 361. It then referred to an example of a case where one party
22

23
     sued another seeking a declaration regarding copyright (e.g., whether defendant

24   performed services on a for-hire basis, whether one party owned the copyright…or
25
     as an equal co-owner). Ibid (emphasis added).
26

27
           The Court found that, in that example, jurisdiction in federal court arises under

28   the Declaratory Relief Act as well as being premised on the need to construe the

                                                 13
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 1   provisions of the Copyright Act: So, the Copyright Act allows courts, in their
 2
     discretion, to grant attorney’s fees to the prevailing party under those circumstances.
 3

 4   Ibid (emphasis added). And the same consideration controls any time the action at
 5
     hand requires construction of the Copyright Act, such as a claim for a declaration the
 6
     work falls outside the scope of copyright protection, or the rights accorded to the
 7

 8   copyright owner. Ibid.
 9
           Lastly, the Doc’s Dream court held that, while a contract dispute over
10
     royalties due under an accepted copyright (not a dispute over copyright ownership)
11

12   may be beyond the scope of federal law, where the scope of the copyrights is at
13
     issue, i.e., where the parties dispute copyright ownership or usage, allows for the
14
     discretionary award of attorney’s fees. Doc’s Dream at 361 – 362 (emphasis added).
15

16   In that case, as here, the complaint specifically invoked the Copyright Act: "[A]n
17
     action arises under the federal copyright laws if...the complaint is for a remedy
18
     expressly granted by the Act...or asserts a claim requiring construction of the Act."
19

20   Id at 362 (citing Rano v. Sipa Press, Inc., 987 F.2d 580, 584 (9th Cir. 1993)).
21
           In the present case, Plaintiff’s complaint specifically invokes the Copyright Act
22

23
     and seeks a declaration concerning joint ownership rights. Plaintiff alleged:

24            (1) “An actual controversy has arisen and now exists between TOVE and
25
              Defendants regarding the parties’ respective rights in and to any and all
26

27
              copyrights derived from Mr. Tracey’s creative contributions to the NoPixel

28            Server.” FAC at P. 22.

                                                14
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 1            (2) TOVE seeks the Court’s determination as to whether TOVE is entitled
 2
              to assert a joint ownership interest in and to any and all copyrights
 3

 4            derived from Mr. Tracey’s creative contributions to the NoPixel Server,
 5
              pursuant to the Copyright Act. Id at P. 23.
 6
              (3) An actual and justifiable controversy has arisen and now exists
 7

 8            between TOVE and Defendants regarding TOVE’s claim to joint
 9
              ownership of any and all copyrights derived from Mr. Tracey’s creative
10
              contributions to the NoPixel Server, and a declaration from this Court is
11

12            therefore warranted under the Declaratory Judgment Act, 28 U.S.C. §§
13
              2201, et seq., to establish such parties’ respective rights and obligations.”
14
              Id at P. 24.
15

16         Regarding this last claim, it is important to note that the Doc’s Dream case
17
     specifically held that, asserting the case was not brought under the Copyright Act but
18
     rather one that was brought under the Declaratory Judgment Act (‘DJA’)", fails as it
19

20   is based on a misunderstanding of the scope of the DJA and the interplay required
21
     between it and federal questions of law. Doc’s Dream at 363. It held: The DJA and
22

23
     Copyright Act work in tandem. Ibid. And, in certain circumstances, "jurisdiction in

24   federal court arises under the Declaratory Relief Act as well as being premised on
25
     the need to construe the provisions of the Copyright Act." (Id, citing Nimmer
26

27
     §14.10[B][1][b]) ("[T]he kinds of issues which give right of entrance to federal

28   courts...was not altered by the Declaratory Judgment Act."). The court noted it is

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 1   “unclear how, absent the Copyright Act, Doc’s Dream would have asserted federal
 2
     court jurisdiction.” Id at 363 (emphasis added). This is precisely what occurred in
 3

 4   the present case.
 5
     V.    COURT DISCRETION TO AWARD FEES
 6

 7         Defendant is entitled to its costs and reasonable attorney fees. As noted above,
 8
     Section 505 of the Copyright Act authorizes the recovery of full costs, and the award
 9
     of reasonable attorney’s fees to the prevailing party as part of the costs. “A court
10

11   may not treat prevailing plaintiffs and prevailing defendants differently [in a
12
     copyright case].” Kirtsaeng v. John Wiley & Sons, 579 U.S. 197, 202 (2016); see
13
     also Fogerty v. Fantasy Inc., 510 U.S. 517 (1994). Costs and fees are awarded in the
14

15   discretion of the court, not as a matter of course (Kirtsaeng at 4) nor in the court’s
16
     “unconstrained discretion,” (Kirtsaeng at 6), but rather in discretion informed by
17
     several nonexclusive factors (discussed below). Fogerty at 517-18.
18

19
           In deciding whether to award attorneys’ fees, courts conduct a case-by-case
20

21
     analysis and consider, but are not limited to, the following five factors: (1) the degree

22   of success obtained, (2) frivolousness, (3) motivation, (4) [objective] reasonableness
23
     of [the] losing party’s legal and factual arguments, and (5) the need to advance
24

25
     considerations of compensation and deterrence. Tresóna Multimedia, Ltd. Liab. Co.

26   v. Burbank High Sch. Vocal Music Ass’n, 953 F.3d 638, 653 (9th Cir. 2020) (citing
27

28


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 1   Wall Data Inc. v. L.A. County Sheriff’s Dep’t, 447 F.3d 769, 787 (9th Cir. 2006));
 2
     see also Fogerty, 510 U.S. at 534 n.19.
 3

 4
               1. The Degree of Success Obtained.
 5

 6         In this case, Defendants achieved complete success on the merits. The first
 7
     factor “weighs more in favor of a party who prevailed on the merits, rather than on a
 8
     technical defense.” DuckHole Inc. v. NBCUniversal Media LLC, No. CV-12-10077-
 9

10   BRO, 2013 WL 5797204, at *2 (C.D. Cal. Oct. 25, 2013) (citing Fogerty, 510 U.S.
11
     at 556). Here, Defendants prevailed on all of Plaintiff’s claims on a motion for
12
     summary judgment, which constitutes complete success on the merits. Lawrence v.
13

14   Sony Pictures Ent. Inc., No. CV-04737-SVW, 2011 WL 13217267, at *1 (C.D. Cal.
15
     Nov. 5, 2011) (Wilson, S. presiding); aff’d 534 Fed. App’x. 651 (9th Cir. 2013) (the
16
     “[d]efendants achieved complete success on the merits” where the court granted the
17

18   defendants motion for summary judgment by “dismissing [p]laintiff’s three
19
     copyright claims on the merits”); Gilbert v. New Line Prods., Inc. et al., No. CV 09-
20

21
     02231-RGK, 2010 WL 5790688 (C.D. Cal. Dec. 6, 2010) (same).

22
               2. Frivolousness and Objective Unreasonableness.
23

24         “Objective unreasonableness” is used to describe claims that have no legal or
25
     factual support. Glass v. Sue, No. CV 09-8570-RGK SHX, 2011 WL 561028, at *4
26

27
     (C.D. Cal. Feb. 8, 2011) (citing Perfect 10, Inc. v. CCBill LLC, 488 F.3d 1102, 1120

28   (9th Cir. 2007)). Further, a claim that is not objectively unreasonable at the outset

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 1   can become so if the litigant continues to pursue it after the litigant knew or should
 2
     have known that his or her claims had no legal or factual support. Erickson Prods.
 3

 4   Inc. v. Kast, No. 5:13-CV05472-HRL, 2016 WL 3951659, at *2 (N.D. Cal. July 22,
 5
     2016). When a district court rules on the merits of a copyright claim, as in this case,
 6
     it “can easily assess whether the losing party advanced an unreasonable claim or
 7

 8   defense.” Kirtsaeng, 579 U.S. at 206. Similarly, a claim is considered frivolous
 9
     “when the ‘result is obvious, or the arguments are wholly without merit.’” Perfect
10
     10, Inc. v. Giganews, Inc., No. CV 11- 07098-AB SHX, 2015 WL 1746484 (citing
11

12   Glass, 2011 WL 561028, at *3), aff'd, 847 F.3d 657 (9th Cir. 2017).
13
           In this case, Plaintiff’s claims at all times were frivolous and unreasonable.
14

15   Not only were they never supported by evidence, but Plaintiff also admitted the
16
     claims lacked merit by, among other things, not even opposing the evidence
17
     presented by Defendants. Thus, e.g., while Plaintiff claimed there was a dispute
18

19   regarding the parties’ respective rights in and to any and all copyrights derived from
20
     Mr. Tracey’s creative contributions to the NoPixel Server, after two years of
21

22
     litigation, Tracey admitted either he or Plaintiff solely owned the content, and he did

23   not deny that he signed the Terms expressly licensing it to Defendants. Plaintiff knew
24
     these facts prior to filing the lawsuit.
25

26         Further, when Plaintiff filed its FAC seeking the “Court’s determination as to
27
     whether TOVE is entitled to assert a joint ownership interest in and to any and all
28


                                                18
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 1   copyrights derived from Mr. Tracey’s creative contributions” it knew there was no
 2
     joint interest in the copyrights. It knew it never had an agreement to loan Tracey out
 3

 4   to Defendants and it knew that Tracey licensed the content to Defendants. Plaintiff
 5
     admitted this by not opposing the undisputed facts.
 6

 7         Despite this, to avoid imposition of an attorney fee award under Section §505
 8
     of the Copyright Act, Plaintiff claims it was not seeking relief under that Act, despite
 9
     (a) expressly stating in its FAC that its claims were “pursuant to the Copyright Act”;
10

11   and (b) seeking a determination concerning its rights under the copyright joint
12
     authorship and ownership doctrines. Here, Plaintiff cited the Declaratory Judgment
13
     Act in support of the requested relief, but as demonstrated above, that does not
14

15   remove this controversy from consideration of the Copyright Act.
16
              3. Improper Motivation.
17

18
           Plaintiff’s litigation conduct demonstrates that Plaintiff threatened and filed
19
     this lawsuit to coerce a settlement from Defendants. Such misconduct demonstrates
20

21   improper motivation and militates in favor of an award of fees. A finding of bad faith
22
     may be based on a plaintiff’s conduct that “suggests an intent to force Defendant to
23

24
     expend significant resources on litigation in order to coerce a settlement.” Shame on

25   You Prods., Inc. v. Banks, 893 F.3d 661 (9th Cir. 2018). Bad faith, while not
26
     necessary to an award of fees, can be based on a plaintiff’s actions both in bringing
27

28
     the lawsuit and during the course of the litigation. Marcus, 2017 WL 5592470, at *4.

                                                19
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 1         In this case, Plaintiff’s improper motivation has been clear from the outset. For
 2
     example, on January 9, 2023, Plaintiff’s counsel made the initial demand on behalf
 3

 4   of Tracey (not Plaintiff), to “cease and desist” from making allegedly defamatory
 5
     statements about Tracey. (KC Decl., ¶ 43 and Exh. 1.) There was absolutely no claim
 6
     of copyright infringement. In fact, the demand was to “immediately remove” the
 7

 8   allegedly defamatory statements and to “retract” them .
 9
           Not content with Defendants’ response, however, on February 6, 2023
10

11   Plaintiff’s counsel wrote again, this time on behalf of both Tracey and Plaintiff, now
12
     “with respect to any claims it may have against NoPixel for copyright
13
     infringement.” (KC Decl., ¶ 3 and Exh. 3.) Yet it was clear that pursuing damages
14

15   for alleged copyright claims was not Plaintiff’s motivation. Instead, Plaintiff’s
16
     counsel threatened it “intends to bring any such viable [copyright] claims against
17
     NoPixel if Mr. Tracey’s reasonable demands brought by way of our initial January
18

19   9, 2023 correspondence are not met.” In other words, Plaintiff threatened to sue for
20
     copyright infringement to compel Defendants to retract an allegedly defamatory
21

22
     statement. This “suggests an intent to force Defendant to expend significant

23   resources on litigation in order to coerce a settlement.” See Shame on You, supra.
24

25
           When Defendants again declined, Plaintiff made good on its threat to sue.

26   Only neither Plaintiff nor Tracey sued for alleged defamation. Instead, Plaintiff
27
     creatively styled its complaint as an action for “declaratory relief”, instead of
28


                                                20
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 1   copyright infringement, because Plaintiff was aware it had no copyright registration.
 2
     It manufactured a claim that it had an agreement with Defendants to “loan out” the
 3

 4   services of Tracey to create copyrighted material that would be jointly owned
 5
     between Plaintiff and Defendant.
 6

 7         Plaintiff then refused to dismiss the claim for two years until Defendants
 8
     presented the instant motion for summary judgment and, when presented with the
 9
     opportunity to create an issue of fact or provide any evidence it had a contract with
10

11   Defendants, loaned out Tracey to work for Defendants, created a jointly owned work
12
     or that Tracey did not license the subject work to Defendants, Plaintiff admitted that
13
     none of their claims had merit by not even filing an opposition. In sum, Plaintiff
14

15   forced Defendants to call Plaintiff’s bluff and incur over $222,183.42 in fees (see
16
     below) before finally conceding and admitting it had no claim.
17

18            4. Awarding Attorneys’ Fees and Costs Would Deter Meritless
19
                  Infringement Claims.
20

21         This factor is intended to deter opportunistic plaintiffs from bringing frivolous
22
     and unreasonable claims and to ensure that defendants are encouraged to protect
23

24
     their legitimate rights. Scott v. Meyer, No. CV 09-6076 ODW(RZX), 2010 WL

25   2569286, at *3 (C.D. Cal. June 21, 2010) (“Deterring non-meritorious lawsuits
26
     against defendants seen as having ‘deep pockets’ and compensating parties that must
27

28
     defend themselves against meritless claims are both laudable ends.”); AF Holdings

                                               21
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 1   LLC v. Navasca, No. C12-2396 EMC, 2013 WL 3815677, at *3 (N.D. Cal. July 22,
 2
     2013) (“[T]here is a strong argument in favor of awarding fees as a deterrent, both
 3

 4   with respect to [plaintiff] and other persons or entities that might contemplate a
 5
     similar business model that is not intended to protect copyrighted work but instead
 6
     designed to generate revenues through suits and coerced settlements.”). Awarding
 7

 8   fees in cases like this is vital because it provides parties with “every incentive to
 9
     keep fighting” against meritless infringement claims “no matter that attorney’s fees
10
     in a protracted suit might be as or more costly than a settlement.” Kirtsaeng, 579
11

12   U.S. at 205.
13
            Thus, this factor also supports a fee award in this case, given that (i)
14

15   circumstances demonstrate Plaintiff had an improper motivation for filing this
16
     lawsuit, (ii) Plaintiff has now admitted it had no evidence in support of its claims;
17
     and (iii) Defendants were forced to protect their rights against a meritless claim via
18

19   summary judgment rather than capitulate to inappropriate settlement pressure and
20
     tactics.
21

22          In fact, as outlined in Defendant’s undisputed Motion for Summary Judgment
23
     and Statement of Facts, Plaintiff admitted it never communicated with Defendants
24

25
     nor had any agreement regarding a “joint work,” “joint authorship,” or “joint

26   ownership.” Additionally, there is no factual dispute that Plaintiff’s employee,
27
     Tracey, signed Terms confirming that he would own the copyright in his
28


                                                 22
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 1   contributions while granting Defendants a non-exclusive, perpetual license to use the
 2
     material. When these undisputed facts were presented, Plaintiff failed to oppose
 3

 4   them or provide any evidence supporting its claims.
 5
           Given that (a) it was undisputed there was no joint authorship or joint
 6

 7   ownership, (b) Plaintiff owned the copyright and clearly granted Defendants a
 8
     license to use it, and (c) Plaintiff failed to present or oppose any evidence disputing
 9
     these facts, it is evident that Plaintiff’s complaint and claims are frivolous,
10

11   unreasonable, and asserted for an improper purpose. Simply, this matter should never
12
     have been brought before this Court.
13

14         In such circumstances, only through an award of attorney fees in favor of
15
     Defendants can Plaintiff be deterred and Defendants compensated as a result of
16
     having to defend against frivolous and unreasonable claims up to and through the
17

18   Motion for Summary Judgment stage. This includes, without limitation, having to
19
     defend against Plaintiff’s Motion for Summary Judgment, which was immediately
20

21
     denied by this Court. In fact, had Plaintiff’s claims and allegations had any merit,

22   Plaintiff would have opposed Defendant’s Motion for Summary Judgment, instead of
23
     finally rolling over after nearly two years of litigation and tacitly admitting its claims
24

25
     were frivolous, meritless and objectively unreasonable.

26
           This is precisely the type of conduct that this Court should deter; and
27

28
     Defendants should be compensated as a result of having to pursue a meritorious

                                                 23
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 1   defense to a patently meritless copyright claim. In that regard, the U.S. Supreme
 2
     Court in both Fogerty and Kirtsaeng endorsed and approved the use of fee awards to
 3

 4   incentivize a party, whether a defendant or plaintiff, to keep fighting against an
 5
     unreasonable opposing party, noting that the “successful defense of a copyright
 6
     infringement action may further the policies of the Copyright Act every bit as much
 7

 8   as a successful prosecution of an infringement claim.” Fogerty, 510 U.S. at 527. The
 9
     Kirtsaeng case is even more enlightening: When a litigant, whether plaintiff or
10
     defendant, is clearly correct, the likelihood that he will recover fees from the
11

12   opposing (i.e. unreasonable) party gives him an incentive to litigate the case all the
13
     way to the end. Kirtsaeng 579 U.S. at 7 (emphasis added).
14

15         As discussed above, Plaintiff has no reasonable claim against Defendants, and
16
     it never should have brought suit against them in the first instance. But now, having
17
     done so, Plaintiff should be charged for the full amount of cost and expense it has
18

19   forced Defendants to bear. Defendants should be fully compensated to deter Plaintiff
20
     from pursuing similar overaggressive and frivolous claims. This is especially true
21

22
     given that Plaintiff was informed of these facts at every stage of this dispute and

23   throughout the litigation, with these points repeatedly clarified to Plaintiff. Failing to
24
     award fees to the prevailing defendant here will only encourage the filing of even
25

26
     more frivolous cases by Plaintiff if Plaintiff risks no downside by filing them. In any

27   case, the requested award is the only way to compensate Defendants for having to
28


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 1   defend against patently frivolous claims (thereby removing the need to file a
 2
     Malicious Prosecution action).
 3

 4
     VI.   DEFENDANTS’ ATTORNEYS’ FEES AND COSTS ARE
 5
           REASONABLE
 6

 7             A. Defendants’ Attorneys’ Rates Are Reasonable
 8         District courts use the lodestar method to calculate an award for attorneys’
 9
     fees. Ferland v. Conrad Credit Corp., 244 F.3d 1145, 1149 n.4 (9th Cir. 2001). This
10
     method takes the number of hours reasonably expended on the litigation and
11

12   multiplies it by a reasonable hourly rate. Morales v. City of San Rafael, 96 F.3d 359,
13
     363-64 (9th Cir. 1996). The prevailing market rate in the community is indicative of
14
     an attorney’s reasonable hourly rate. Blum v. Stevenson, 465 U.S. 886, 895-96 n.11
15

16   (1984) (the requested rates must be “in line with those prevailing in the community
17
     for similar services by lawyers of reasonably comparable skill, experience, and
18
     reputation”).
19

20         “There is a strong presumption that the lodestar figure represents a reasonable
21
     fee. ‘Only in rare instances should the lodestar figure be adjusted on the basis of
22

23
     other considerations.’” Morales, 96 F.3d at 363 n.8 (citing Harris v. Marhoefer, 24

24   F.3d 16, 18 (9th Cir. 1994) and Oviatt v. Pearce, 954 F.2d 1470, 1482 (9th Cir.
25
     1992)).
26

27
           Finally, although a prevailing party must provide evidence to support the

28   hours spent on litigating meritless claims, “[t]he party opposing the fee application

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 1   has a burden of rebuttal that requires submission of evidence to the district court
 2
     challenging the accuracy and reasonableness of the hours charged or the facts
 3

 4   asserted by the prevailing party in its submitted affidavits.” Gates v. Deukmejian,
 5
     987 F.2d 1392, 1397-98 (9th Cir. 1992). The fee applicant’s records need not be
 6
     extraordinarily detailed but should identify the general subject matter of the claimed
 7

 8   time expenditures. See Hensley v. Eckerhart, 461 U.S. 424, 437 n.12.
 9
           Defendants’ counsel consistently staffed this matter with the original team
10
     since day one of pre-litigation, maintaining continuity and efficiency throughout the
11

12   litigation. The legal team at all times comprised of partner, Keith Cooper and
13
     associate Katayoon Iravani, with Larry Zerner as the lead litigator. (KC Decl., ¶ 8.)
14
     This small but dedicated team handled all aspects of the defense from start to finish,
15

16   ensuring cost-effective management despite the demands and complexity of the case.
17
           Mr. Cooper has 30 years of experience in intellectual property and litigation,
18
     having previously served as a partner at Morrison Cooper LLP and Morrison
19

20   Rothman LLP, and currently as a partner at Cooper & Iravani, LLP. Mr. Cooper is
21
     admitted to practice in California. Mr. Cooper has been involved in this matter since
22

23
     its inception in January 2023, initially overseeing pre-litigation efforts and later

24   working alongside Mr. Zerner and Ms. Iravani when the case phased into litigation.
25
     Mr. Cooper’s average billing rate for this matter was $525 per hour, and he did not
26

27
     bill for many of his contributions, underscoring the firm’s commitment to efficient

28   case management.

                                                 26
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 1         Defendants’ lead counsel, Mr. Zerner, is a seasoned attorney with 33 years of
 2
     experience in entertainment and intellectual property litigation, admitted to practice
 3

 4   in California. He serves as Of Counsel to Cooper & Iravani, LLP, and formerly with
 5
     the firms Morrison Cooper LLP and Morrison Rothman LLP. His expertise and
 6
     experience have been invaluable to the defense of this matter, as he provided
 7

 8   strategic oversight on all litigation phases. Mr. Zerner applied his standard billing
 9
     rate of $525 per hour.
10
           Katayoon Iravani, currently a third-year associate and a 2019 graduate of
11

12   Loyola Law School, was previously with Morrison Cooper LLP (and Morrison
13
     Rothman LLP), and is now with Cooper & Iravani, LLP. Ms. Iravani has managed
14
     this matter from the initial response in pre-litigation discussions with Plaintiff’s
15

16   counsel through all stages of litigation, including this fee motion. Billing at an
17
     average rate of $425 per hour, Ms. Iravani has been actively involved and integral in
18
     defending against Plaintiff’s claims, preparing motions, handling discovery, and
19

20   correspondence throughout the case.
21
             B. Counsel for Defendant Spent Reasonable Amount Of Time
22               Litigating The Merits Of Plaintiff’s Action, Considering How Much
23               Work Was Involved.
           There is no question that Defendants’ counsel expended a significant amount
24

25   of time defending against Plaintiff’s claims from January 2023 (when Plaintiff first
26
     asserted its claims) through October 24, 2024 (when the Court granted and entered
27

28


                                                 27
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 1   the MSJ). Over the duration of this period, Defendants’ counsel billed the following
 2
     aggregate hours:
 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14         Based on the foregoing, Defendants respectfully request that the Court award
15
     Defendants the sum of $222,183.42 on account of their attorneys’ fees incurred
16

17   through October 31, 2024, after the Court granted Defendants’ MSJ.
18            C. Defendants Requests An Award of Allowable Costs
19
           Defendants also seek $43,917.24 in allowable costs incurred in this litigation.
20

21   The Court has the discretion to award litigation costs to Defendant pursuant to 17
22
     U.S.C. §505. These costs, which include deposition reporting and transcripts,
23
     parking, PACER charges, FedEx charges associated with service of court filings,
24

25   expert witness retention and supplemental costs, and FedEx charges associated with
26
     subpoenas also are reasonable and appropriate. (KC Decl., ¶ 19 and Exh. 5.)
27

28


                                               28
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 1             D. Defendants are Also Entitled To Recover Fees And Costs Incurred
 2                In Connection With This Motion
 3          “‘[T]ime spent in establishing the entitlement to and amount of the fee is

 4   compensable.’” Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 981 (9th Cir. 2008)
 5
     (citing In re Nucorp Energy, Inc., 764 F.2d 655, 659-660 (9th Cir. 1985)).
 6

 7   Defendants incurred approximately $10,395.00 in additional fees in connection with

 8   attempting to negotiate a settlement with Plaintiff to avoid this motion, as well as
 9
     researching, drafting and revising this fee motion, the supporting declarations and
10

11   supporting exhibits. (KC Decl. ¶ 20.)
12   VII. CONCLUSION
13       For all the reasons set forth above, Defendant respectfully requests that the Court
14
     award Defendants their reasonable attorneys’ fees and costs in the amount of
15
     $222,183.42, plus $10,395.00 in fees they incurred in connection with this motion, as
16

17   well as any additional fees incurred in connection with any supplemental briefing or
18
     hearing relating to this fee motion.
19

20

21   Dated: November 7, 2024                 Respectfully submitted,
22
                                             ZERNER LAW
23

24                                           By: /s/Larry Zerner
                                               Larry Zerner
25
                                               Attorneys for Defendants Koil Content
26                                             Creation Pty. Ltd. and Mitchell Clout
27

28


                                                29
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